Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 1 of 25 PageID# 901



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

ROBERT WHITLEY,                                      )
                                                     )
                Plaintiff,                           )
                                                     )
                v.                                   ) Case No.: 1:20-CV-1411 RDA-TCB
                                                     )
SECTEK, INC.                                         )
                                                     )
                Defendant.                           )

                     AMENDED JOINT PROPOSED JURY INSTRUCTIONS

        The parties Plaintiff, Robert Whitley, and Defendant, SecTek, Inc., by and through their

respective counsel, and pursuant to the Court’s Order dated February 18, 2022 (ECF No. 36), submit

their joint jury instructions.


Date: March 31, 2022

/s/ Victor M. Glasberg                        /s/ Michael E. Barnsback
Victor M. Glasberg, (Bar No. 16184)           Michael E. Barnsback (Bar No. 33113)
Victor M. Glasberg & Associated               O’Hagan Meyer, PLLC
121 S. Columbus Street                        2560 Huntington Avenue, Suite 204
Alexandria, VA 22314                          Alexandria, VA 22303
T: (703) 684-1100                             T: (703) 775-8603
F: (703) 684-1104                             mbarnsback@ohaganmeyer.com
vmg@robinhoodesq.com
                                              Counsel for Defendant
Counsel for Plaintiff


                                      CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was filed electronically with the Clerk of
the Court and served electronically using the CM/ECF upon all counsel of record.

                                              /s/ Michael E. Barnsback

                                              Counsel for Defendant
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 2 of 25 PageID# 902



                              A. PRELIMINARY INSTRUCTIONS
                          JOINT PROPOSED JURY INSTRUCTION NO. 1

Ladies and Gentlemen:

        You have now been sworn as the Jury to try this case. By your verdict, you will decide the

disputed issues of fact. Before the trial begins, I am going to give you instructions that will help you

to understand what will be presented to you and how you should conduct yourself during the trial.

        I will decide all questions of law and procedure that arise during the trial, and, before you

retire to the jury room at the end of the trial to deliberate upon your verdict and decide the case, I will

explain to you the rules of law that you must follow and apply in making your decision.

        Because you will be asked to decide the facts of this case, you should give careful attention

to the testimony and evidence presented. Keep in mind that I will instruct you at the end of the trial

about determining the credibility or “believability” of the witnesses. During the trial, you should

keep an open mind and should not form or express any opinion about the case until you have heard

all of the testimony and evidence, the lawyers’ closing arguments, and my instructions to you on the

law.

        If you would like to take notes during the trial you may do so. On the other hand, of course,

you are not required to take notes if you do not want to.

        While the trial is in progress, you must not discuss the case in any manner among yourselves

or with anyone else. In addition, you should not permit anyone to discuss the case in your presence.

        From time-to-time during the trial, I may make rulings on objections or motions made by the

lawyers. It is a lawyer’s duty to object when the other side offers testimony or other evidence the

lawyer believes is not admissible. You should not be biased or partial against a lawyer or the lawyer’s

client because the lawyer has made objections. If I sustain or uphold an objection to a question that
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 3 of 25 PageID# 903



goes unanswered by the witness, you should not draw any inferences or conclusions from the

question. You should not infer or conclude from any ruling or other comment I may make that I have

any opinions on the merits of the case favoring one side or the other. I do not favor one side or the

other.

         During the trial, it may be necessary for me to talk with the lawyers out of your hearing about

questions of law or procedure. Sometimes, you may be excused from the courtroom during these

discussions. I will try to limit these interruptions as much as possible, but you should remember the

importance of the matter you are here to determine and should be patient even though the case may

seem to go slowly.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                               ________________________________
                                                               UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 4 of 25 PageID# 904



                         JOINT PROPOSED JURY INSTRUCTION NO. 2
                                       (Opening Instruction)

The case will proceed as follows:

        First, the lawyers for each side may make opening statements. What is said in the opening

statements is not evidence, but is simply an outline or summary to help you understand what each

party expects the evidence to show. A party is not required to make an opening statement.

        After the opening statements, Plaintiff, Robert Whitley, will present evidence in support of

his claims, and Defendant’s lawyer may cross-examine the witnesses. At the conclusion of Plaintiff’s

case, Defendant, SecTek, Inc., may introduce evidence, and Plaintiff’s lawyer may cross-examine

the witnesses. Defendant is not required to introduce any evidence or to call any witnesses. If

Defendant introduces evidence, Plaintiff may then present rebuttal evidence.

        After the evidence is presented, the parties’ lawyers make closing arguments explaining what

they believe the evidence has shown. What is said in the closing arguments is not evidence. Finally,

I will instruct you on the law that you are to apply in reaching your verdict. You will then decide the

case.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                             ________________________________
                                                             UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 5 of 25 PageID# 905



                        JOINT PROPOSED JURY INSTRUCTION NO. 3
                                      (Claims and Defenses)

       The issues in this case and the positions of the parties can be summarized as follows:

       Plaintiff Robert Whitley claims that Defendant SecTek terminated him because of his sex.

SecTek denies that it discriminated against Mr. Whitley based on his sex.

       Mr. Whitley, was employed by SecTek as a supervisor. A female subordinate of Mr. Whitley,

named Franchesca Sylver, made a complaint against Mr. Whitley asserting among other things

sexual harassment. Twelve days later, a male subordinate of Mr. Whitley, named Hamayan Mirza

made a complaint against Mr. Whitley asserting religious discrimination and harassment based on

Mr. Mirza’s Muslim religion. SecTek investigated both complaints and claims that it made the

decision to terminate Mr. Whitley’s employment based on the investigations.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 6 of 25 PageID# 906



                         JOINT PROPOSED JURY INSTRUCTION NO. 4
                                 (Judge’s Questions to Witnesses)

         During the trial, I may sometimes ask a witness questions. Please do not assume that I have

any opinion about the subject matter of my questions. You are the sole and exclusive judge of the

facts.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 7 of 25 PageID# 907



                      JOINT PROPOSED JURY INSTRUCTION NO. 5
                                         (Stipulations)

       The parties have stipulated, or agreed to the following:

       (1) October 1, 2018, was the first day of employment for Leslie Howard-Watts at

 SecTek; and,

       (2) Deborah Leahy, SecTek’s former general counsel, died in October of 2021.

        You must now treat these as facts as having been proved for the purpose of this case.




GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 8 of 25 PageID# 908



                       B. INSTRUCTIONS AT THE CLOSE OF TRIAL
                         JOINT PROPOSED JURY INSTRUCTION NO. 6
                  (Consideration of the Evidence; Duty to Follow Instructions)

       Now that you have heard the evidence and the argument, it is my duty to instruct you about

the applicable law. It is your duty to follow the law as I will state it. You must apply the law to the

facts as you find them from the evidence in the case. Do not single out one instruction as stating the

law, but consider the instructions as a whole.

       You must perform your duties as jurors without bias or prejudice as to any party. You are to

consider only the evidence in the case. The law does not permit you to be controlled by speculation,

guesswork, sympathy, prejudice, or public opinion. You may draw reasonable inferences from the

evidence by using your common sense. That is, you may draw from the facts that you find have been

proven, such reasonable inferences or conclusions as you feel are justified in light of your experience.

All parties expect that you will carefully and impartially consider all the evidence, follow the law as

it is now being given to you, and reach a just verdict, regardless of the consequences. The evidence

will consist of the following:

       1. The sworn testimony of the witnesses, no matter who called a witness.

       2. All exhibits received in evidence, regardless of who may have produced the exhibits.

       3. All facts that may have been judicially noticed and that you must take as true for purposes
          of this case.

       Depositions may also be received in evidence. Depositions contain sworn testimony, with the

lawyers for each party being entitled to ask questions. In some cases, a deposition may be played for

you on video. Deposition testimony may be accepted by you, subject to the same instructions that

apply to witnesses testifying in open court.
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 9 of 25 PageID# 909



       Statements and arguments of the lawyers are not evidence in the case, unless made as an

admission or stipulation of fact. A “stipulation” is an agreement between both sides that certain facts

are true or that a person would have given certain testimony. When the lawyers on both sides stipulate

or agree to the existence of a fact, you must, unless otherwise instructed, accept the stipulation as

evidence, and regard that fact as true.

       I may take judicial notice of certain facts or events. When I declare that I will take judicial

notice of some fact or event, you must accept that fact as true.

       If I sustain an objection to any evidence or if I order evidence stricken, that evidence must be

entirely ignored.

       Some evidence is admitted for a limited purpose only. When I instruct you that an item of

evidence has been admitted for a limited purpose, you must consider it only for that limited purpose

and for no other purpose.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                              ________________________________
                                                              UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 10 of 25 PageID# 910



                         JOINT PROPOSED JURY INSTRUCTION NO. 7
                                          (Evidence at Trial)

        Unless you are otherwise instructed, the evidence in the case consists of the sworn

testimony of the witnesses regardless of who called the witness, all exhibits received in evidence

regardless of who may have produced them, and all facts and events that may have been admitted or

stipulated to .

        Statements and arguments by the lawyers are not evidence. The lawyers are not witnesses.

What they have said in their opening statements, closing arguments, and at other times is intended

to help you interpret the evidence, but it is not evidence. However, when the lawyers on both sides

stipulate or agree on the existence of a fact, you must, unless otherwise instructed, accept the

stipulation and regard that fact as proved.

          Any evidence to which I have sustained an objection and evidence that I have ordered

 stricken must be entirely disregarded.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                                ________________________________
                                                                UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 11 of 25 PageID# 911



                         JOINT PROPOSED JURY INSTRUCTION NO. 8
                                        (Witness Credibility)

       You are the sole judges of the credibility of the witnesses and the weight their testimony

deserves. You may be guided by the appearance and conduct of a witness, or by the manner in which

a witness testifies, or by the character of the testimony given, or by evidence contrary to the

testimony.

       You should carefully examine all the testimony given, the circumstances under which each

witness has testified, and every matter in evidence tending to show whether a witness is worthy of

belief. Consider each witness’s intelligence, motive and state of mind, and demeanor or manner

while testifying.

       Consider the witness’s ability to observe the matters as to which the witness has testified, and

whether the witness impresses you as having an accurate recollection of these matters. Also, consider

any relation each witness may have with either side of the case, the manner in which each witness

might be affected by the verdict, and the extent to which the testimony of each witness is either

supported or contradicted by other evidence in the case.

       After making your own assessment, you will give the testimony of each witness such weight,

if any, that you may think it deserves. In short, you may accept or reject the testimony of any witness,

in whole or in part. The weight of the evidence does not necessarily depend upon the number of

witnesses who testify.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 12 of 25 PageID# 912



                                               ________________________________
                                               UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 13 of 25 PageID# 913



                         JOINT PROPOSED JURY INSTRUCTION NO. 9
                                       (No Bias or Prejudice)

       You have been chosen and sworn as jurors in this case to try the issues of fact presented by

the allegations of the complaint of Plaintiff, Robert Whitley and the answers of Defendant, SecTek.

You are to perform this duty without bias or prejudice as to any party. Our system of law does not

permit jurors to be governed by sympathy, prejudice, or public opinion. All of the parties and the

public expect that you will carefully and impartially consider all the evidence in the case, follow the

law as it is now being given to you, and reach a just verdict, regardless of the consequences.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                             ________________________________
                                                             UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 14 of 25 PageID# 914



                         JOINT PROPOSED JURY INSTRUCTION NO. 10
                                (All Persons Equal Before the Law)

       The fact that Mr. Whitley is an individual and SecTek is a corporation must not enter into or

affect your verdict. This case should be considered and decided by you as an action between persons

of equal standing in the community, of equal worth, and holding the same or similar stations in life.

SecTek and Mr. Whitley are both entitled to the same fair trial at your hands. All persons stand equal

before the law and are to be dealt with as equals in a court of justice.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                               ________________________________
                                                               UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 15 of 25 PageID# 915



                        JOINT PROPOSED JURY INSTRUCTION NO. 11
                              (Direct and Circumstantial Evidence)

        Generally speaking, there are two types of evidence that are generally presented during a

 trial – direct evidence and circumstantial evidence. “Direct evidence” is the testimony of a person

 who asserts or claims to have actual knowledge of a fact, such as an eyewitness. “Indirect or

 circumstantial” evidence is proof of a chain of facts and circumstances indicating the existence or

 nonexistence of a fact.

        As a general rule, the law makes no distinction between the weight or value to be given to

 either direct or circumstantial evidence. Nor is a greater degree of certainty required of

 circumstantial evidence. You are simply required to find the facts in accordance with the

 preponderance of all the evidence in the case, both direct and circumstantial.




GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                             ________________________________
                                                             UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 16 of 25 PageID# 916




                       JOINT PROPOSED JURY INSTRUCTION NO. 12
                                     (Reasonable Inferences)

        You are to consider only the evidence in the case. However, you are not limited to the

 statements of the witnesses. In other words, you are not limited to what you see and hear as the

 witnesses testify. You may draw from the facts that you find have been proved such reasonable

 inferences as seem justified in light of your experience.

        “Inferences” are deductions or conclusions that reason and common sense lead you to

 draw from facts established by the evidence in the case.



GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                             ________________________________
                                                             UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 17 of 25 PageID# 917




                        JOINT PROPOSED JURY INSTRUCTION NO. 13
                                           (Impeachment)

        A witness may be discredited or impeached by contradictory evidence or by evidence that

 at some other time the witness has said or done something, or has failed to say or do something

 that is inconsistent with the witness’ present testimony.

        If you believe any witness has been impeached and thus discredited, you may give the

 testimony of that witness such credibility, if any, you think it deserves.

        If a witness is shown knowingly to have testified falsely about any material matter, you

 have a right to distrust such witness’ other testimony and you may reject all the testimony of that

 witness or give it such credibility as you may think it deserves.

        An act or omission is “knowingly” done, if voluntarily and intentionally, and not because

 of mistake or accident or other innocent reason.


GIVEN AS REQUESTED ____________
GIVEN MODIFIED ____________
REFUSED ____________
WITHDRAWN ____________
                                                              ________________________________
                                                              UNITED STATES DISTRICT JUDGE
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 18 of 25 PageID# 918




                         JOINT PROPOSED JURY INSTRUCTION NO. 14
                                   (Preponderance of the Evidence)

           Mr. Whitley has the burden in a civil action, such as this, to prove every essential

   element of his claim by a preponderance of the evidence. If Mr. Whitley should fail to

   establish any essential element of his claim by a preponderance of the evidence, you should

   find for SecTek

           SecTek has the burden of establishing the essential elements of certain affirmative

   defenses. I will explain this later.

           "Establish by a preponderance of the evidence" means to prove that something is more

   likely so than not so. In other words, a preponderance of the evidence means such evidence

   as, when considered and compared with the evidence opposed to it, has more convincing

   force, and produces in your minds belief that what is sought to be proved is more likely true

   than not true. This standard does not require proof to an absolute certainty, since proof to an

   absolute certainty is seldom possible in any case.

           In determining whether any fact in issue has been proved by a preponderance of the

   evidence you may, unless otherwise instructed, consider the testimony of all witnesses,

   regardless of who may have called them, and all exhibits received in evidence, regardless of

   who may have produced them.


 GIVEN AS REQUESTED ____________
 GIVEN MODIFIED ____________
 REFUSED ____________
 WITHDRAWN ____________




                                                  18
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 19 of 25 PageID# 919




                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE




                                      19
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 20 of 25 PageID# 920




                         JOINT PROPOSED JURY INSTRUCTION NO. 15
                               (Title VII Introductory Instruction)

          In this case the Plaintiff, Robert Whitley, has made a claim under a federal civil rights

   statute that prohibits employers from discriminating against an employee in the terms and

   conditions of employment because of the employee’s race, color, religion, sex, or national

   origin. More specifically, Mr. Whitley claims that he was fired by the defendant, SecTek,

   because of his sex.

          SecTek denies that Mr. Whitley was discriminated against in any way.


          I will now instruct you more fully on the issues you must address.




 GIVEN AS REQUESTED ____________
 GIVEN MODIFIED ____________
 REFUSED ____________
 WITHDRAWN ____________
                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE




                                                 20
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 21 of 25 PageID# 921




                       JOINT PROPOSED JURY INSTRUCTION NO. 16
                      (General Employment Discrimination Instructions)

        Mr. Whitley claims that he was terminated by SecTek because of his gender. To succeed

 on this claim, Mr. Whitley must prove:

    1. SecTek terminated Mr. Whitley; and

    2. Mr. Whitley’s gender was a motivating factor in SecTek’s decision.

        If either of the above elements has not been proven by a predonderance of the evidence,

 your verdict must be for SecTek and you need not proceed further in considering this claim.




 GIVEN AS REQUESTED ____________
 GIVEN MODIFIED ____________
 REFUSED ____________
 WITHDRAWN ____________
                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE




                                                21
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 22 of 25 PageID# 922




                   JOINT PROPOSED JURY INSTRUCTION NO. 17

 WITHDRAWN AS DISPUTED




                                      22
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 23 of 25 PageID# 923




                       JOINT PROPOSED JURY INSTRUCTION NO. 18
                                     (Investigation Standard)

        In relying on an investigation to terminate an employee, the decision-maker does not

 need to have ‘undisputed’ evidence of misconduct or a body of evidence free from credibility

 issues before the decision-maker may act to terminate the employee, so long as the investigation

 is free from bias or discriminatory motive.




 GIVEN AS REQUESTED ____________
 GIVEN MODIFIED ____________
 REFUSED ____________
 WITHDRAWN ____________
                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE




                                                23
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 24 of 25 PageID# 924




                        JOINT PROPOSED JURY INSTRUCTION NO. 19
                                        (Business Judgment)

        Even if an employer is mistaken and its business judgment is wrong, an employer is

 entitled to make its own policy and business judgment. An employer may make those

 employment decisions as it sees fit, as long as it is not unlawful. It is not the function of the jury

 here to second guess the wisdom of SecTek’s business decisions.

        In reaching your verdict on Mr. Whitley’s discrimination claim, you must keep in mind

 that the law requires only that an employer not discriminate against an employee based on his

 gender. The law does not require an employer to make correct or fair decisions. Therefore, in

 deciding the Mr. Whitley’s discrimination claim, it is not your function to substitute your

 judgment for that of SecTek.




  GIVEN AS REQUESTED ____________
 GIVEN MODIFIED ____________
 REFUSED ____________
 WITHDRAWN ____________
                                                             ________________________________
                                                             UNITED STATES DISTRICT JUDGE




                                                   24
Case 1:20-cv-01411-RDA-TCB Document 94 Filed 03/31/22 Page 25 of 25 PageID# 925




                       JOINT PROPOSED JURY INSTRUCTION NO. 20
                              (Mixed Motive Affirmative Defense)



          SecTek claims that Mr. Whitley’s sex was not a motivating factor in its decision to

   fire him. SecTek also argues that it would have fired Mr. Whitley anyway, for other

   breaches of company policies and procedures.

          If Mr. Whitley proves that his sex was a motivating factor to fire him, SekTek may not

   avoid liability by showing that additional nondiscriminatory reasons were also used to terminate

   him. However, SecTek may avoid liability if it demonstrates that it would have fired Mr.

   Whitley for nondiscriminatory reasons alone, without considering his sex. On this affirmative

   defense SecTek carries the burden of proof.




 GIVEN AS REQUESTED ____________
 GIVEN MODIFIED ____________
 REFUSED ____________
 WITHDRAWN ____________
                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE




                                                 25
